Case 1:14-mj-00113-PAS Document 1 Filed 06/09/14 Page 1 of 25 PagelD #: 1
". ' . Case i:13-cr-00028 A Document 23 (Courtonly) Filed ../05/14 Page 1 of 24

Tihor

AO 199A (Rev. 12/11) Order Setting Conditions of Release PR oe

 
 

201h JUN ~9 | a
UNITED STATES DISTRICT Cour wrcourt
District ofNew Hiafiiipiefrect oF New HAMPSHIRE

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me ISLAM!

APR 16 2013
FILED

   
 

UNITED STATES OF AMERICA

ORDER SETTING CONDITIONS

~ bw) "CF RELEASE
Kut S Case Number: ) CIiC- 2%-Ol- gM

 

Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:

[X] 1. The defendant shall not commit any offense in Violation of federal, state, or local {aw while on release in this case.

{X] 2. The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. §
14135a.

{X] 3. The defendant shall immediately advise the court, defense counsel, and the U.S. Attorney in writing before any
change in address and telephone number,

[X] 4. The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed or
as directed.

{ 1. 5. The defendant shall appear at U.S. District Court, 55 Pleasant St., Concord, NH on
at for. and when and where as ordered by the Court.

{ ] 6. The defendant shall sign an Appearance Bond, if ordered.

Page t of 4

 
Case 1:14-mj-00113-PAS Document 1 Filed 06/09/14 Page 2 of 25 PagelD #: 2
“. ‘. Case 1:13-cr-00028 “4 Document 23 (Court only) Filed ../05/14 Page 2 of 24

AO 199B (Rev. 12/k ) Additional Conditions of Release USDCNH-40 (8/12)

Additional Conditions of Release

 

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the

: defendant and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is
subject to the conditions marked below:

Q eid defendant is placed in the custody of (address to be redacted from electronic version of document entered on
F): oo

 

 

Tel:

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the
appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
defendant violates any conditions of release or disappears,

Signed:

Custodian or Proxy
a), «. defendant shall:

Mer rt on a regular basis as directed by the supervising officer.
22) main or actively seek employment.
refrain from possessing a firearm, destructive device, or other dangerous weapons.

{d) surrender any firearm(s) to Clerk, U.S. District Court, 55 Pleasant St., Concord, NH.

QO (6) surrender any passport to Clerk, U.S. District Court, 55 Pleasant St., Concord, NH.
f) obtain no passport.

@ (g) submit to any method of testing required by the supervising officer for determining whether the defendant is using
a prohibited substance. Such methods may be used with random frequency and include urine testing, the wearing of
a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.

O (h) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of
any prohibited substance testing or electronic monitoring which is (are) required as a condition(s) of release.

GQ (i) meaningfully participate in and complete a-program of inpatient or outpatient substance abuse therapy and
counseling if deemed advisable by the supervising officer,

Q (j) be detained until he/she can be released directly into an inpatient treatment facility. Further hearing to be held

n the completion of the program or upon the failure to meaningfull icipate in and complete the program.
we restrict travel to the State(s) of New Hampshire, + . Any other travel
must be pre-approved by the supervising officer.

Q () avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential
witness in the subject investigation or prosecution, including but not limited to:

 

 

 

 

2 i. 2. {p) have no unsuperygged congact with any minor children.

3 (n) refrain from 'y [7] excessive use of alcohol. ; .
yw" Q (0) participate in the following home confinement program components and abide by all the requirements of the
program

Q () “Curfew: You are restricted to your residence every day [ ] from to ,or
{ ]as directed by the supervising officer, or

Page 2 of 4

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. Case 1:13-cr-00028 4 Document 23 (Court only) Fileo 3/05/14 Page 4 of 24

AO 199C (Rev. 09/08) Advice of Penalties and Sanctions USDCNH-40 (8/12)

Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release;tnay result in the immediate issuance of a warrant for your arrest,
a revocation of release, an order of detention, and a Prosecution for contempt of court and could result in a term of
imprisonment, a fine, or both. *e

The commission of a federal offense while on pre-trial release will result in an additional sentence of a term of
imprisonment of not more than ten years, if the offense is a felony, or a term of imprisonment of not more than one year, if the
offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to 10 years of imprisonment or a $250,000 fine or both to obstruct a
criminal investigation. It is a crime punishable by up to 10 years of imprisonment and a $250,000 fine or both to tamper with a
witness, victim, or informant; to retaliate or attempt to retaliate against a witness, victim, or informant; or to intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If after release you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be

fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) on offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined

not more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other
offense. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant
1 acknowledge that I am the defendant in this case and { atl am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and to surrendg for service of any sentence imposed. J am aware of the penalties
and sanctions set forth above.

Date: fll} 2 O/ 3

 

Directions to United States Marshal
Q The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced

., the appropriate judge at the time and place specified, if still in custody.
The defendant is ORDERED released after processing.

Date: g C/E —/ < eae oe

ited Stat gistrate Judge
Q United S District Judge

    

ce: Defendant
U.S. Attorney
U.S. Marshal
U.S. Probation
Defense Counsel

Page 4 of 4

 

 
Case 1:14-mj-00113-PAS Document 1,,;.Filed 06/09/14 Page 4 of 25 PagelD #: 4

 

. AYrest Raport

Arrest #: 14-152-aR
Call #: 14611529
Incident #: 14-516-0F

 

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ast Gr-anwich Police Dep © ~ Page: 1

06/05/2014

 

Date/Time Reported: 06/0 T
¥ Arrest Date/Time: 06/04/2014 @ 1825
5 Booking Date/Time: 06/04/2014 @ 1846
' Involves: Domestic Violence

Court: 3rd Division District Court
Court Date: 06/05/2014 @ 1500

Reporting Officer: Detective KERRIE MAZUR
Assisting Officer: PATROL OFFICER DAVID DEL BONIS

Booking Officer: PATROL OFFICER CHRISTOPHER CALLAN '

 
 

Signature:

 

 
 

DEFENDANT (S)
1 SANBORN, KURT DAVID . . M w a7 XXX-XX-XXXX
45 BIRCH ST Apt. #2

ATTLERORO MA 02703

Military Active Duty: N

HEIGHT: 516 = 511 WEIGHT: 215 - 225 HAIR: BROWN BYES: BLUE
BODY: HEAVY COMPLEXION: FAIR
DOB: 04/23/1967 PLACE OF BIRTH: MASSACHUSETTS
. STATE ID: 10260411 . FBI ID: $74896FD
‘ LICENSE NUMBER: RI 3415555 ETHNICITY: NOT HISPANIC

[CONTACT INFORMATION]

 

 

     
    

speed Sis

  

401-800-0303

 

sree

ze Home Phone (Primary) 401-500-0303
i Ba Cell Phone (Primary) 401-500-0303
[APPEARANCE]

 

 

GENERAL APPEARANCE: ORDERLY

GLASSES WORN: NO

 

[FAMLLY/EMPLOYMENT INFORMATION]

 

 

MARITAL STATUS: DIVORCED |

 

 

EMPLOYER/SCHOOL: THE WORKSHOP
3760 QUAKER LN
NORTH KINGSTOWN RI 02852

OCCUPATION: SELF

 

 

 

06/05/2014 THU 12:32 PM [TX/RX NO 58678]

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_Case 1:14-mj- Sooee. PAS Document1 Filed 06/09/14 Page 5 of 25 PagelD #: 5

asc ‘Gr-snwic Police Department 308k: Page: 2.

Arrest Report 06/05/2014

Arrest. #: 14-152-AR
Call #: 14-11529
Incident #: 14-516-0F

 
   

        

       

     
 

    

12s aNe 2)

  

# SEX RACE AGE

 

DEFENDANT (S)

 

(RIGHTS /BOCKING CHECKS)

 

 

PHONE USED: N vi
ARRESTEE SECURED: Y 06/04/2014 i941:),° ©
ARRESTEE CELL #: M-1 JO

PINGERPRINTED: Y
PHOTOGRAPHED: Y
VIDEO: YES
SUICIDE CHECK: Performed
PERSONS: State&Federal
NCIC VEHICLE CHECK: Performed
ANJURY OR ILLNESS; N

        

OF FENSE(S) ATTEMPTED
LOCATION TYPE: Residence/Home/Apt./Conde Zone: DIV/MIDDLE/SHIPPETWN
66 SPRING VALLEY DR

EAST GREENWICH RI 02618

1 VIOLATION OF A DISTRICT COURT PROTECTION ORDER N Miademeanor
' 8-8.1-3 8-8.1 3
OCCURRED: 06/04/2014 1753
SUSPECTED OF USING: Alcohol

2 DOMESTIC STALKING Felony
"  11-89-2/aF 11~59 2/12-29-5
OCCURRED: 06/04/2014 1700
SUSPECTED OF USING: Alcohol

  
     

PHONE

  

SSN

    

eae

 

AGE

  

VICTIM(S)

   

1 WHARTON, MARY C a “F Ww 45 381-654-9284 401-398-0929

66 SPRING VALLEY DR

EAST GREENWICH RI 02818

DOB: 06/21/1968

EMPLOYER: NEW ENGLAND INST OF TECH + 401-203-9994
ETHNICTTY: Not of Hispanic Origin

RESIDENT STATUS: Resident

VICTIM CONNECTED TO OFFENSE NUMBER(S): 1 2

RELATION TO: SANBORN KURT Boy/Girl Friend
CONTACT INFORMATION:

Home Phone (Primary) 401-396-0929

Work Phone (Primary) | $01-203-9994

   
    
   

    

PROPERTY #

 

OTHER PROPERTIES

 

  

1 VERIZON DROIN MAXX PHONE (401)500-0303 146-183-PR Selzed (Not Previously S8tolan)
QUANTITY: 1 VALUE: $10.00
SERIAL #: IMEI: 990004964453983
DATE: 06/08/2014
OWNER: SANBORN, KURT DAVID

 

 

06/05/2014 THU 12:32 PM [TX/RX NO 5678] 0003
Case 1:14-mj-00113-PAS Document 1. Filed 06/09/14 Page 6 of 25 PagelD #: 6

 

 

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Bast Gr~snwich Police Department ~ Page: 3
Arrest Report _ 06/05/2014

Arrest #: 14-152-AR
Call #: 14-11529
Incident #:° 14-516-OF

OTHER PROPERTIES

   

PROPERTY # STATUS

2 AT & T ALCATEL CELL PHONE - MOD #0TS71AG 14-194-PR Seized (Not Previously Stolen)
QUANTITY: 1 VALUE: $10.00

SERIAL #: HTJES3AP6MW18I6
DATE: 06/05/2014
OWNER; SANBORN, KURI DAVID

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. Case 1:14-mj-00113-PAS Document1 Filed 06/09/14 Page 7 of 25 PagelD #: 7
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NARRATIV...FOR DETECTIVE KERRIE L MAZUR
Ref: 14-152-AR

Entered: 06/05/2014 @ 0003 Entry ID: 146
Modified: 06/05/2014 @ 1212 Modified ID; 146

On 4 June 2014 at 1730hrs., 1, Detective Mazur got a phone call from Cathy Wharton who advised me that
as she had pulled into her office parking lot at 1050 Main St., she believed she had observed Kurt Sanbom's
vehicle in the lot. Wharton has an active restraining order against Kurt Sanbom who is her ex-boyfriend. She
severed all relationship ties with Sanborn 21 November 2013 after an alleged suicide attempt. She madc it very
clear to him that he was not welcome in her home and that their romantic relationship was over.

On 29 May 2014 Sanbom was served by Attleboro, Massachusetts police with a restraining order from
Wharton. Captain Macdonald called me and informed me that Sanborn had contacted the police himself and said
he had heard that there was a restraining order that needed to be served to him. Sanbom responded to Attleboro
police headquarters and was successfully served.

T observed Sanborn's vehicle, RI PC 578-293 on a gray Ford Edge, without any occupants, parked on the
east side of the 1050 Main building. A check on the plate confirmed it to be Sanborn's vehicle. Wharton
informed me by phone that she was leaving her office. I was parked with two other undercover officers across
~ the street in sight of the vehicle and the building. As Wharton's white mini Cooper exited the parking lot,
tuming south onto Main St., Sanborn was seen quickly descending the stairs which led from Wharton's office.
Photographs were obtaincd of him ducking as he came to the bottom of the stairs, sneaking to his vehicle then
driving hurriedly in the same direction as Wharton.

Wharton had proceeded up Cedar Ave. towards Middle Road. We were positioned on Cedar Ave. and
were able to observe Sanborn exit the parking lot then continue up Cedar, with his cell phone in his hand,

_ following Wharton. Wc proceeded to follow Sanborn. I contacted Sgt. Chimside and advised him of the events.
: He'told Lt. Siple who dispatched a marked vehicle to our location.
We followed Sanborn as he tumed right onto Wharton's road, Spring Valley. He suddenly stopped on the
side of the road, one house short of Wharton's. We continued past him. He quickly turned around and exited the
street, heading west on Middle Road. We continued to follow him.and advised dispatch of our location into
North Kingstown and then into Exeter. Sanborn abruptly.turned right onto South Road and then right again into
Reynolds Memorial Field. We exited our vehicle and advised Sanborn we were police officers, asking him to
exit his vehicle with his hands in clear view. Officer Delbonis arrived to assist us in the arrest. Officer DeJbonis
placed Sanborn into the back of his cruiser in handcuffs at 1825hrs. He was advised that he was being arrested
for Violation of a No Contact Order against Mary Catherine Wharton.

RISP Trooper Brisson and Trooper Montminy arrived to assist.

Sanborn gave verbal to search his vehicle and two cellular phones found in the front passenger
compartment. Later at the station, Sanborn gave written consent to search his Droid phone and his Alcatel phone.
Officer Delbonis transported Sanbom back to headquarters where he was photographed, fingerprinted and placed
in.cell M1. He was allowed to make a phone call. He attempted to call his lawyer.

-ua'» Sanborn stated he was eating at Ritrovo restaurant near Wharton's office and that he was going to visit his
former friend, Tom on Spring Valley drive to say hello when he realized it was a bad idea and turned around.
_ Wharton later stated Sanborn has no relationships witb any of the neighbors on her street.

I attempted to contact Gina Affsa, Sanborn's federal probation officer at 1800hrs. A message was left.

 

. Detective Mazur

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06/05/2014 THU 12:32 PM [TX/RX NO 5678] (210005
 

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* , Case 1:13-cr-0002& .v Document 23(Court only) Filea .6/05/14 Page 9 of 24

Eas...areenwich Police Department -
Images Associated with 14-152-AR

 

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Case 1:14-mj-00113-PAS Document 1 Filed 06/09/14 Page 9 of 25 PagelD #: 9
", ° , Case 1:13-cr-00028- A Document 23 (Court only) Filed ../05/14 Page 10 of 24

Bast Greenwich Police Department
Suicide Evaluation Form

Name: SANBORN, KURT DAVID ARR #: 14-152-AR
Address: 45 BIRCH ST Date:
ATTLEBORO, MA. 02703
SSN: 028-+52-9213 / DOB: 04/23/1967
CESS Staple Wacchtour Tape
SaA Unemployed Texminally Iil
Tired Age 26-32 Giving Away Property
Confused * No Spouse Intoxicated/Aleohol
Crying * Prior Arrests Intoxicated/Drugs
Irritable Wringing Hands Former Police Officer
Pacing Protective Custody Unrealistic Comments
Silent Poor Eye Contact Recent Major Surgery
i Total # of Items Checked 2 _- Multiplied By 1 Equals 2

 

Are You I11
Are You Hearing Voices Used Drugs Today

Used Alcohol Today

[+

 

Any Recent Family Deaths Seeking Psychiatric Care
* Threatened Suicide Before Attempted Suicide Before
Refused To Answer Questions :

t+

Total # of Items Checked 3 Multiplied By 2 Equals 6&6
State Shows Past Threar State Shows Past Attempt

Do You Feel Like Killing Yourself Now
If Yes, Does Prisoner Have A Suitable Plan

Total # of Items Checked 0 Multiplied By 15 Equals 0
(0-7 Points) Low Risk

** (8-12 Points) Medium Risk Total Points 8
(13-20 Points) High Risk
{ > 20 Points) Very High Risk

 

Transfer To Other Agencies:

Accepting Agency Advised Of Past Threat/Attempt: Yes . No

Accepting Agency:

 

Signature of Accepting Officer:

 

Signature of Releasing Officer:

 

06/05/2014 THU 12:33 PM [TX/RX NO 5678] 0007

 

 
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", ‘ , Case 1:13-cr-00028-. 1 Document 23 (Court only) Filed Vu/05/14 Page 11 of 24

oe -

EAST GREENWICH POLICE DEPARTMENT
176 First Avenue
East Greenwich, Rhode Island, 02818
Tel# 401-884-2244 Fax# 401-886-8653
Detective Division Tel# 401-886-8630

Consent to Search

Digital Media

 

Time (UlOhse,
Date
. Place

L KurtDaud Sadan _. have been informed of my right not to have a search

of my computer and/or cellular telephone desctibed below-without a search warrant and of my

 

right to refuse to consent to a search do authorize Y of the East
Greenwich Police Department to conduct a complete search of My’coiiputer and/or cellular
telephone described .

as: Venton ~Droid sana d+ Pai <0! 500-0305
model OTST AG oltre. ersi00 BBIYFD

(Make sure to note the Make, Model, Serial # Phone #, brief description)

 

 

 

O00
User Name: OOvid. Cell Phone Cell Phone O00
Password: nor. Untock Code Unlock Pattern O00

 

 

 

 

I give my consent to this search knowing that if any incriminating evidence is found it

 

can be used against me in a court.

the RI State Police Computer Crimes Division or the “cath Police Department
to conduct an off-site forensic examine to include any and all digital evidence storég on the

equipment described shove.

Tn addition to the above named Police Officer(s) T also giye my consent to any member of

I give this written permission to the Police Officer(s) names above voluntarily and

without threats or promises of any kind. .
“, p
wines_Woteedre Keane Magen

Signature

 

 

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-— “a

DEPARTMENT OF POLICE

EAST GREENWICH, RHODE ISLAND 02818

 

HEADQUARTERS
TOWN HOUSE
TELEPHONE: 884-2244 886-8639 6886-8640
THI§ FOR™ i SW SISNED IN THE PRESENCE OF A POLICE OFTICER

PERMISSION 72 SEARCH

I (we) Kurt > Sanborn - have been informed bv _
~. i Me known to me as an authorized lew
enforcement officer af the Town of East Greenwich, Rhode [sland of my CONSTITU-
TEQNAL RIGHT not to have a searcn made cf the premises and property owned py me
and/or under my care, custody and control without a search warrant,

With full knowledge of my lawful right to refuse to consent to such a search, I
willingly give my permission to all and any law enforcement officers of the above
named Town of East Greenwich, to conduct, at their discc-etion, but only in
accordance with the terme of trat certat  decument entitled “PERMISSION TO ACT AS
AGENT“ which I have signed contemporanecusly herewith. a complete search of the

premis@s and property, including aii puilgings and vericles, both inside end

Qutside of the property located and ‘noth as ord Edge Br Rend 16243. ell
ao Qa: ~ an {

The above said officer(si further havéltay tie tgi ns Cel (Phe ne. ot anh ALCSKE Pla ne

property, any items, including, but not Limited to, any aicoholic beverages or

materiais suspected by the said officer(s! to be controlied substances, ar any

other property ar things which they desire as evidence “or purposes of potential

criminal prosecution.

This written permission to search without a search warrant is given by me to
members of the East Greenwich Police Depar tne % voluntarily and without any
threats or promises of any ind feok-tis”

wold

   

 

 

This consent is acknowledgec ov

Witness \’
weS

Witness

 

 

06/05/2014 THU 12:33 PM [TX/RX NO 5678] 0008

 
Case 1:14- my -00113-PAS Document 1 Filed 06/09/14 Page 12 of 25 PagelD #: 12
Ay TOorts Page ts ol gioe: 1

_wanecident Report: 05/27/2014

 

 

  

Incident #: 14-516-OF
Call #: 14-10236

 

 

Date/Time Reported: 05/19/2014 1435
Report Date/Time: 05/19/2014 1502
Status: Incident Open

Reporting Officer: PATROL OFFICER CHRISTOPHER RAFFERTY
Approving Officer: Lieutenant ROBERT SIPLE

 

 

 

Signature:
i Signature:
i
SUSPECT(S) SEX RACE AGE § PHONE
1 SANBORN, KURT DAVID 5 u w 4? XXX-XX-XXXX 401-500-0303
45 BIRCH ST ‘

 

ATTLEBORO MA 02703

tilitary Active Duty: N

BODY: NOT AVAIL. COMPLEXICN: NOT AVAIL.
DOB: 04/23/1967 PLACE OF BIRTH: NOT AVAIL.
LICENSE NUMBER: RI 3415555 ETHNICITY: NOT HISFANIC

{COWZACT INFORMATION)

 

 

Home Phone (Primary) 401-500-0303

       

    

ary Tess) PUgTs naan aes
LOCATION TYPE: Rewidence/Home/Apt./Condo Zonet DIV/MIDDLE/SHIPPETWN

: 66 SPRING VALLEY DR

.. EAST GREENWICH RI 02818

2 WILEPFUL TRESPASS yw Misdemeanor
11-44-26 11-44 26
OCCURRED: 05/19/2014 1435

PERSON(S) ; PERSON TYPE SEX RACK AGE SRE page Qn a)

 

1... WHARTON, MARY C REPORTING PARTY. ¥ Ww 4s 381-664-9284 401-399-0929
66 SPRING VALLEY DR
EAST GREENWICH RI 02818
DOB: 06/21/1968
EMPLOYER: NEW ENGLAND INST OF TECH + 401-203-9994
CONTACT INFORMATION:

Home Phone (Primary) 401-398-0929
Work Phone (Primary) 403-203-9994
2 WHARTON, KELLY N WITHRESB P w a1 636-332-6728 401-714-1586

66 SPRING VALLEY DR

EAST GREENWICH RI 02818

DOB: 09/02/1992

EMPLOYER: URI °

CONTACT INFORMATION:

Kome Phone (Primary) 401-398-0929
Calisack Number 401-714-1586

 

06/05/2014 THU 12:33 PM [TX/RX NO 5678] 0010

 

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Case 1:14-mj-00113-PAS Document 1 Filed 06/09/14 Page 13 of 25 PagelD #: 13

 

 

“TY Case DIS cro wai Tee Sipertigar sit Page 14 ol gige: 2
incident Report 05/27/2014

   

Incident #: 14-516-oOF

 

 

 

 

 

Call #: 14-10236 ae
Attachments for 14-5i6-oFr __ oo
description ~
STATEMENT FROM WHARTON ; _. EDF

 

 

 

- Attachment#: FET OFBOFETOTSOESURIGFOTE €2D1A836

 

 

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06/05/2014 THU 12:33 PM [TX/RX NO 5678] oo1r

 
Case 1:14-mj-00113-PAS Document1 Filed 06/09/14 Page 14 of 25 PagelD #: 14

 

 

— — Ease TIStrOC gic Gresbwieh police pepartment ooo Page toutpgoer 1
SUPPLEMENTAL NARRAT. 4 FOR PATROL OFFICER CHRISTOPH 2 RAFF
Ref: 14-516-OF
Entered: 05/20/2014 @ 1055 Entry ID: 124

Modified: 05/23/2014 @ 1950 Modified ID; 1564
Approved: 05/23/2014 @ 1950 Approval ID; 154

 

On 5/20/14 I spoke to Kurt Sanborn on the phone and he was very upset about the fact that Mary would come in
and file this kind of report against her. He believed that Mary's daughter Kelly was behind all of this and told me
that he has threats from Kelly that she would convince her mom into filing this report if he continued a
relationship with Mary. Kurt was going to speak to a lawyer about civil action against them for this and was
advised by myself not to go to the property and if he needed to go there and get personal items to arrange a time
with us so we could go and keep the peace. He also wanted to document that bath Mary and Kelly have been
texting him and that they allowed him into the home and asked him to stay at the house while the locks were
changed.

 

Ptlin. Chris Rafferty

Taare aay oes

ay,
:

ak POOL

 

 

 

 

06/05/2014 THU 12:34 PM [TX/RX NO 5678] @oo1s

 
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Case 1:14-mj-00113-PAS Document:1° ‘Filed 06/09/14 Page 15 of 25 PagelD #: 15

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Ae eae rage: 1

\ B
SUPPLEMENTAL NARRA. VE FOR PATROL OFFICER PATRICK . .CCOY
Ref: 14-516-OF

Entered: 05/23/2014 @ 1684 Entry ID: 166
Modified: 05/23/2014 @ 1740 Modified ID: 166
Approved: 05/23/2024 @ 1951 Approval Ip: 154

 

 

Cathy Wharton responded to EGPD to have documented that her ex-boyfriend, Kurt, again was in her
driveway this moming 5-23-14 at 0900 hrs. Kurt was issued a No Trespass Order on her property carlicr this
week by Pum. Rafferty. Cathy just wished we document regarding Kurt arriving at her residence today. I advised
her in the future to call us immediately if he arrives at her residence again. I also advised Cathy to consider
changing her locks and obtaining a restraining order.

 

06/05/2014 THU 12:34 PM [TX/RX NO 5678] @oo14

 

 

 
 

 

Case 1:14-mj-00113-PAS Document1 Filed 06/09/14 Page 16 of 25 PagelD #: 16
" , Case 1:13-cr-00028-_.4 Document 23 (Court o ) Filed Uo/05/14 Page 18 of 24

   
   
  
 

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Nowe d Ley
STATE OF RHODE ISLAND .
DISTRICT COURT DA. - FILENO. 17° 3504-0133

 

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Case 1:14-mj-00113-PAS Document iv Filed 06/09/14 Page 17 of 25 PagelD #: 17
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(5-20-14 14:08 FROM ; “a8 9002/0004 F-815
STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
DISTRICT COURT

TEMPORARY ORDER PROTECTION FROM ABUSE

[DIVISION OF COURT ~~ ADOREGS OF COURT D.A - FILE NO, ™~
Berd | 3IX Quawe? La. Wanucee, ME dae te ly -S)A—~Ol 92

PLAINTIFF . PLAINTIFF'S ATTORNEY ” '

fs Wry CaPene Wharton 6191/88 ee ee rw a RETESET |”

 

 

 

bG oa Valley Dr.) Kash § Gotta tail, Ki S218

DEFENDANT VS
DEFENDA ‘ADORESS

 

 

Kart Dautl Sap born Haste WS &

 

PURSUANT TO CHAPTER 6-8.1 OR CHAPTER 11-37.2 OF THE GENERAI, LAWS OF RHODE ISLAND,
and upon consideralion of plaintiffs comptaint, (and having found inal immediate and irreparable injury, loss,
or damage will resuit fa the pisintif before a notice can ba served and a hearing hac thereon) it is ORDERED:

LZ That the detendant le restrainad and enjoined from contacting, assaulting, molesting, or otherwise
iMertering with plaintiff at home, on the sireat, or elsewhere, !

Jt le ‘Thal ihe detendant vacate forthwith and ramain out of ihe household )ocaiad af

 

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1 Pate RARE cee
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That

 

This ORDEA ig efiective forthwith, and will remain in eect until cal ea — .

 

A hesing on the continuation of this one will ba held at the District Court, —Rimta
| RD J
County, 2 Fie) (P.M.) an a ™ [PL he "

Divigion, at
if the defandant wishes to be heard, (he/ane) will be heard at that time. If (heyshe) doaa not appear at that,
time, this ORDER shall remain in effact,

A copy of this ORDER shalt be tranamitted to 3 Law Officer (» sheriff or consiable duly muthorzed to
serve process for the Digtrat Court} and shalt oe. served ‘onthe defendent herein, a? iA
ay

9 as an Ord id of Court this ane mae sous * — ween stent OO Ets seoe em mms ener me ey OR A

Fol Be Mang

Clerk

 

 

 

 

 

A PERSON WHO VIOLATES THIS DER MAY BE GUILTY OF A MISDEMEANOR AND MAY BE
PUNISHED BY A FINE OF AS MUCH AS $1,000.00 ANO/OR BY CONFINEMENT IN JAIL FOR AS LONG
AS ONE (1) YEAR, AND MAY BE ORORRED TO ATTEND COUNSELING, IF THE VICTIM WANTS THIS
ORDEA TO CONT: NUE BEYOND THE EXPIRATION DATE, THE VICTIM MUST APPLY FOR A RENEWAL
OF THE ORDER BEFORE THE EXPIRATION DATE.

OC-5 (rav'se0 Mby 2010)

06/05/2014 THU 12:34 PM ([TX/RX NO 3678)

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Case 1:14-mj-00113-PAS Document1 Filed 06/09/14 Page 18 of 25 PagelD #: 18
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7 7 ATTLEBORO POLICE DEP

 

12 Union St, Attlebore, MA 02703 (508}-222-1212 Fax (508) 224-2210

 

Fax

To EF Ghbediich PD From cnr Vr pec Der

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Fax: Pages: .
Phone Date se7aa
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CAPTAIN KTAMES MALS

 

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_ Case 1:14-mj-00113-PAS Document 1 Filed 06/09/14 Page 19 of 25 PagelD #: 19
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12 Union Si, Attleboro, MA 02763 (508) 222-1212 Fax (508) 223-2270

 

To Der ERIE MIA SuR: From car Wie AtAcdaatD

 

 

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Fax: _. oO. Pages

Phone Date: t
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Re: cc:

 

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Attleboro Police Bepartment
12 Huion Street

Auleboro, Massachusetts 02703
Telephone: (508) 223-2224 ax: (508) 223-2210
attleborogelice. atg

 

Chiet OF Pollee

June 5, 2014

Detective Kerie Maz.
East Greenwich Police Dept.
East Greenwich, RI

Detective Mazur, this is +o advise you that Kurt David Sanborn, DOB 04/23/1967, of 45 Birch
Sweet, #2, Attleboro, \24 was served with « Temporary Order of Pretection From Abuse, issued
by the District Court of Ken? County, Rhode ‘tslarid'(14-3DA-0123),

Sanborn wes served in head by me at approximately 3:20PM on Thursday, May 29, 2014,

If you have any further questions, please feel free to contact me.

 

nraae4

Ceptain James G. MacDonald
perations Division Commander

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Main Form , ° Page | of 2

 

 

 

incident Information

Tncident # Incident Date Calt Taker
14055469 05/29/2014 15:22: 52" esin
Incident Type Description Priority
3603 REST ORD HAST GREENWICH RI PD 5
Ems Level Alarm Leve! Macified By Medified Daze

05/29/2014 15:22:14
ae TT a a a ee

 

 

 

 

 

 

 

 

 

 

fEvent information
Mutticipatity Business Name
1 ATTLEBORO
Fire Box RA
18

 

 

 

 

 

Correct Location

12 UNION ST
Sereet # Street Name Apartment # Cross Street

{2 UNION ST
Near Landm orks Additions]
FOSTER INC PARK ST FOBAILEY j|SEGMENT ADDRESSES RANGE FROM 1 TO

#37 ST 37

Reporting Person
RP Name RP Phone -;: [How Received

SANBORN KURT eas gh
RP Address Choeed By... -.. Date Closed
e5m 105/29/2014 15:23:32

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Incidents

 

Agency Name Incident Number
ATT-PD 1405546

 

 

 

 

 

 

Incident Types

 

Dispatch Class Incident Type
POLICE REST ORD

 

 

 

 

 

Note(s)

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Main Form . Page 2 of 2
Note Type Entered By User ID

CALL-TKR 05/29/2014 15:22:14 esm

Narrative Description

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Dispositions

Dispositions

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POLICE (300) SERVICE RENDERE MACDONALD, J

 

 

 

 

 

 

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Case 1:14-mj-00113-PAS Document1 Filed 06/09/14 Page 23 of 25 PagelD #: 23

UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE RECEIVED

U.S. MARSHAL
C

. . . ONCORD, N
United States of America RCORD, NH

Case No. 13-cr-28-O725 MIN 5 PF 3 1?

Vv.

Kurt Sanborn

WARRANT FOR ARREST

TO: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest Kurt Sanborn and bring him forthwith to
the nearest magistrate judge to answer a Petition charging him with

Violation of Condition of Bail. See Petition attached.

 
 
 

ISSUED BY:

f =?
DATE: June 5, 2014 Me deck CLy Daw
Judit A. Barrett ’ ‘
Deputy Clerk

 

RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

 

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST

 

 

 

 

 
Case 1:14-mj-Q0113-PAS Document1 Filed 06/09/14 Page 24 of 25 PagelD #: 24
UNITED STATES PROBATION & PRETRIAL SERVICES

District of New Hampshire

MEMORANDUM sas

    

 

DATE June 5, 2014

TO: Honorable Daniel J. Lynch 2 a
U.S. Magistrate Judge ce =

FROM: Sean Buckley Lo =
U.S. Probation Officer =a o-..

RE: Kurt Sanborn (13-CR-28-01-SM) ~ —_

Report of Bail Violation- Warrant Recommended

Release Status

On April 16, 2013, the defendant was released on conditions by this Court (see attached
Bail conditions) for pending charges of Wire Fraud, Mail Fraud, and Bank Fraud. The defendant
pled guilty to these charges on May 9, 2014 and sentencing is set for August 27, 2014. Since his
release on bail, the defendant has been supervised on a courtesy basis in the District of
Massachusetts given that he resides there. It should also be noted that Sanborn is also under
post-conviction supervised release in that District based on a prior conviction in this Court for
Wire Fraud on November 19, 2009. He was sentenced to a 36-month period of imprisonment
and was released to supervision on March 1, 2012. No violations have been previously filed.

Details of Violation

Condition 1: The defendant shall not commit any offense in violation of
federal, state, or local law while on release in this case.

On this date, this officer was informed by U.S. Pretrial Services Officer Gina Affsa that
Sanborn was arrested in the District of Rhode Island on charges of Violation of Protection Order
(Misdemeanor) and Domestic Stalking (Felony). According to the East Greenwich (RI)
Detective, Sanborn is accused of stalking his former girlfriend, Mary Wharton. The police
report alleges that, on May 19, 2013, Mary Wharton, reported to law enforcement that Sanborn
continuously came to her home unexpectedly and had entered her home without permission. Ms.
Wharton further stated that the defendant recently had the locks at her residence changed bya
locksmith without her permission. On May 23, 2014, Wharton informed police that she
observed the defendant in her driveway that morming which prompted her to obtain a restraining
order on May 29, 2014, which was served on the defendant that same day.

According to the detective, the defendant is also alleged to have entered Wharton’s home
through a remote animal access door; accessed her cell phone so that he could see her texts, calls,
Case 1:14-mj-00113-PAS Document1 Filed 06/09/14 Page 25 of 25 PagelD #: 25
Honorable Daniel J. Lynch

RE: Kurt Sanborn (13-CR-28-01-SM)
June 5, 2014
Page 2

ete; had a friend impersonate a federal officer and approach the victim; and, he also

accessed her bank account, which caused her account to be frozen. Lastly, the detective advised
that, on June 4, 2014, Sanborn was observed outside of Wharton’s place of work, and later that
same day, traveling in a vehicle on Spring Valley Road where Wharton resides.

Recommendation:

Based on the fact that Sanborn is convicted and pending sentencing and the fact that he
was arrested in another district for two serious offenses, this officer requests that warrant be
issued so that he may be brought before the Court to show cause why his bail should not be
revoked due to his being in violation of Standard Condition #1 — the defendant shall not violate
any state, local, or federal law. It is further recommended that the warrant be sealed at Level II
pending arrest.

 

Reviewed by: Respectfully submitted:
a L. Gauvin | Sean P. Buckley
Supervising U.S. Probation Officer U.S. Probation Officer
Date: June 5, 2014 Date: June 5, 2014

 

FR A A ER A AR A A A A A RR OR ORR AR CRE OR AE CREE ACR ROE
THE COURT ORDERS

[ ] No Action
[-{'The Issuance of a Warrant / Matter Sealed Pending Arrest
[ ] The Issuance of a Summons

 
